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Cyndee L. Peterson                                                    FILED 

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ATTORNEY FOR PLAINTIFF
UNITED STATES OF A:\1ERlCA

               IN THE UNITED STATES DISTRICT COURT 

                   FOR THE DISTRICT OF MONT ANA 

                        MISSOULA DIVISION 



 UNITED STATES OF AMERICA,               CR 18- ar.o -M-     t>Le.
            Plaintiff,                   INDICTMENT

      vs.                                ILLEGAL ALIK'l IN POSSESSION
                                         OF AMMUNITION
                                         Title 18 CS.C. § 922(g)(5)(A)
 RICARDO ORTIZ CRUZ, 

                                         (Penalty: 10 years imprisonment, 250,000
                                         fine, and at least three years supervised
            Defendant. 
                 release)

                                         CRIMINAL FORFEITURE
                                         18 U.s.c. § 924(d)



THE GRAND JURy CHARGES:

     On or about May 14, 2018, in Lincoln County. in the State and District of

Montana, the defendant, RICARDO ORTIZ CRUZ, then being an alien illegally



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     and unlawfully in the United States, did knowingly possess .32 caliber ammunition

     that had been shipped and transported in interstate commerce, in violation of 18

     U.S.c. § 922(g)(5)(A). 


                                FORFEITURE ALLEGATION 


           Upon conviction of the offense listed in this indictment, the defendant,

     RICARDO ORTIZ CRUZ, shall forfeit, pursuant to 18 U.S.c. § 924(d), any

     fireanns and ammunition involved in any knowing violation of 18 USc. § 922(g).

           A TRUE BILL.                  Foreperson signature redacted. Original document filed
                                         under seal.




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     KU      J,   LME
     United Stdtes Attorney



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     f~,THAGGA                ,
     Criminal Chief Assistant .5. Attorney




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